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                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                            No: 22-1226

                          In re: Star Tribune Media Company LLC, et al.

                                                    Petitioners


______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:21-cr-00108-PAM)
______________________________________________________________________________

                                              ORDER


       In view of the responses of the parties to the petition for writ of mandamus, the court

respectfully requests a response to the petition from the district court. The clerk is directed to

furnish the district court with the petition and the responses of the parties.




                                                       February 15, 2022




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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